10
ll

27
28

Reset Form

UNITED STA'I`ES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

American Civil Liberlies Union Foundation;

 

 

 

 

 

 

 

 

American Civil I.iberties Union Foundation of l d F_ /\
Northern California, § Casc NO; _/L-UO
P'ai‘“ifl($l» ) APPLICATION FoR
V l ADMISSION OF ATTORNEY
` l PRO HAC VICE
Department ot`Justice. et al. ) (CIVIL LOCAL RULE 11-3)
)
Defendant(s). §
I, Hklgh Hand€yside , an active member in good standing of the bar of
the U.S. DiSf. Cl.. E-D-N.Y. , hereby respectfully apply for admission to practice pro fmc vice in the
Northern District of California representing: all Plalnlll`l`$ in the
above-entitled action. My local co-counsel in this case is Mallh€“' Cagl@ , an

 

attorney who is a member of the bar of this Court in good standing and who maintains an office
within the State of California.

 

l\/l`\' .»’\DDRESS OF RECORDZ LOC:\L CO-COUL\"SEL'S .-\DDRESS OF RECURD:

Am‘._.rican Civj] libel-lies Union pound-dunn Alnerican (`.ivil liberties Union l:oundalion of Norlhcrn (`,alifnrnia

125 Broad Street, lBth Floor 39 Dr“mm SUC""
Ncw York NY 10004 Sab l"rancisco. CA 941 11

 

MY TsLi-;ri-io.\'iz # oi= RECoi:o: Loc,\l. co-cc\UNsl-;i_'s Ti=.i.i:i*rio.\:iz # ol-‘ aEcoRo:

212-549-2500 415-621-2493

MY u.\i.~\ii. Aooiu¢.ss oi-‘ ascoleo: Local. co-couNsl-',l.'s Eiiaii_ AonREss oi= lzi-:cor<o:
hhandevsidc(r:>aclu.ori.’_ inc;\glc@'.iclunc.org

 

I am an active member in good standing of a Ur\ited States Coul't or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: N/A

A true and Correct copy Of a certificate of good standing or equivalent official document from said
bar is attached to this application

I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

I declare under penalty of perjury that the foregoing is true nmi correctl

Dated:Ul/17/2019 l-lugh Handeyside
` APPLICANT

 

 

 

ORDER GRANTING AI’PLICATION
FOR ADMISSION OF ATTORNEY PRO l-IAC VICE

IT is HEREBY oRDERED Ti-IAT the application of Hugh Hand@ysid@ is granied,
subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
designated in the application will constitute notice to the party.

Dated: i-/r~iv A¢M./

UNlTED STATES DISTRICT/MAGISTRATE ]UDCE

PRO HAC VICE APPLICATION & ORDER - 2 _' - ’-;':` ‘

 

